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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

  NOAH DERYLAK FOR FRANK
  DERYLAK (DESEACED) and CRAIG
  MAXWELL,

        Plaintiffs,                             Case No.: 6:24-cv-947-CEM-EJK


  vs.

  WHITE RIVER MARINE GROUP, LLC;
  BRUNSWICK CORPORATION d/b/a
  MERCURY MARINE; DOMESTIC MARINE
  CANADA INC.; T-H MARINE SUPPLIES,
  LLC;

      Defendants.
  _______________________________________/

            DEFENDANT, T-H MARINE SUPPLIES, LLC’S MOTION
             FOR EXTENSION OF TIME TO DISCLOSE EXPERT
                 WITNESS AND DISCOVERY DEADLINES

         COMES NOW the Defendant, T-H MARINE SUPPLIES, LLC. (hereinafter

  “Defendant”), pursuant to Federal Rules of Civil Procedure 26 and 37, by and

  through the undersigned counsel files this Motion for Extension of Time to

  Disclose Expert Witness and Discovery Deadlines, and as grounds therefore would

  state as follows:

                                  I. Background
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        1.     On July 20, 2024, this Court entered a Uniform Case Management

  Report [Dkt no. 30] providing a deadline of May 1, 2025, for Defendants to serve

  expert disclosures pursuant to Federal Rule 26(a)(2).

        2.     This Court also provided a deadline of May 30, 2025 for the

  completion of discovery.

        3.     Trial is currently set durting the December 2025 trial term with the

  Pre-Trial Conference scheduled for November 20, 2025.

        4.     Discovery is ongoing in this case. Thus, Defendant is in need of

  additional time to provide its expert witnesses with sufficient documentation in

  order to permit them to render their opinion(s) in this case.

        5.     Defendant is attempting in good faith to complete its expert disclosure

  in compliance with this Court’s order, but is in need of an additional thirty (30) day

  extension to do so. Defendant also is requesting a thirty (30) day extension for the

  completion of discovery so that Plaintiffs are able to take the depositions of

  Defendant’s expert witnesses prior to the discovery deadline.

        6.     The Defendant is requesting that deadline for Defendant’s expert

  disclosure to be extended to June 2, 2025 and completion of discovery and motion

  to compel discovery to be extended to July 1, 2025.

        7.      This motion is not made for purposes of delay or avoidance, but to

  permit Defendant to accurately and completely comply with the Court’s order and
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  applicable rule in serving its expert witness disclosure. The parties will not be

  prejudiced by the granting of the requested extension.

                                     II. Discussion

        8.     Federal Rule of Civil Procedure 6(b) empowers this Court to grant

  requests for extensions of time. The requested 30-day extension is limited in length

  and does not evince any delay in the progress of this case to trial. Rather, the

  additional time is needed so that Defendant can fully comply with the expert

  witness disclosures, to include accompanying reports. The extension will not cause

  the continuance of any pretrial conference, hearing or trial pursuant to this Court’s

  Order.

        9.     Federal Rule of Civil Procedure 26(a)(2)(A) provides that “a party

  must disclose to the other parties the identity of any witness it may use at trial to

  present evidence under Federal Rule of Evidence 702, 703, or 705.” Such

  disclosures must include a “written report—prepared and signed by the witness—if

  the witness is one retained or specially employed to provide expert testimony in the

  case or one whose duties as the party’s employee regularly involve giving expert

  testimony.” Fed. R. Civ. P. 26(a)(2)(B).

        10.    If a party fails to provide information or identify a witness under Rule

  26(a), then the party is not allowed to use that information or witness to supply

  evidence at trial “unless the failure was substantially justified or is harmless.” Fed.
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  R. Civ. P. 37(c)(1). Substantial justification exists if there is “justification to a

  degree that could satisfy a reasonable person that parties could differ as to whether

  the party was required to comply with the disclosure request.” Hewitt v. Liberty

  Mut. Grp., Inc., 268 F.R.D. 681, 682 (M.D. Fla. 2010).

        11.    Defendant’s request for extension of time for expert witness

  disclosure and completion of discovery is harmless, because it is made prior to the

  disclosure deadline pursuant to this Court’s order. If Defendant’s motion is

  granted, Plaintiffs will have thirty (30) days remaining in the discovery period to

  depose Defendants experts. The Case Management Scheduling Order can be

  modified “only for good cause and with the judge’s consent.” Fed. R. Civ. P.

  16(b)(4).

        WHEREFORE, Defendant, T-H MARINE SUPPLIES, LLC., respectfully

  requests this Honorable Court to enter an Order granting Defendant’s Motion for

  Extension of Time to Disclose Expert Witness and Completion of Discovery as noted

  above, as well as any other relief this Honorable Court deems just and proper.

                      LOCAL RULE 3.01(g) CERTIFICATION

        Pursuant to Local Rule 3.01(g), the undersigned certifies that they conferred

  with all counsel of record and counsels do not oppose the relief being sought in the

  motion.
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                           CERTIFICATE OF SERVICE

        WE HEREBY CERTIFY that a true and correct copy of the foregoing was

  served via CM/ECF system on this 25th day of April, 2025 to all counsel on the

  attached service list.


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